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                                                                April 4, 2018

VIA EMAIL AND ECF

The Honorable Richard J. Sullivan
United States District Court
Southern District of New York
40 Foley Square, Room 2104
New York, New York 10007

       Re:     QS Holdco Inc. v. Bank of America Corp., et al.,
               Case No. 18-cv-00824 (RJS) (S.D.N.Y.)

Dear Judge Sullivan:
         We represent Plaintiff QS Holdco Inc. (“Plaintiff” or “QS Holdco”) in the above-
referenced action. We write in response to the Defendants’ letter dated March 23, 2018 concerning
Defendants’ anticipated motion to dismiss on standing and capacity to sue grounds. In short,
Defendants’ arguments should be rejected because Plaintiff is the most direct victim of
Defendants’ antitrust violations, and there was no transfer of the claims alleged here in a manner
that would clearly encompass an antitrust claim. As a result, QS Holdco is a proper plaintiff in
this litigation.
The Complaint’s Allegations of Anti-Competitive Conspiracy
        Non-party Quadriserv Inc. was the original developer and former owner of AQS, a
revolutionary electronic trading platform for the stock loan market that currently operates in an
opaque over-the-counter platform that has been described as a trillion dollar “mother of all dark
pools.” Compl. ¶¶ 4, 38. AQS was designed to permit market participants to borrow and loan
stock without paying outsized and unearned fees to the small group of banks, made up primarily
of Defendants that now control the market. Id. ¶¶ 140-42. In 2015, Quadriserv transferred the
AQS platform to PDQ Inc., which later became known as QS Holdco Inc.—the Plaintiff. Id.
¶¶ 37, 38. QS Holdco and Quadriserv share common ownership. Id. ¶ 38. As of January 25,
2018, Quadriserv assigned its antitrust and other litigation claims against Defendants to QS
Holdco. Id. ¶ 41.1


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   Defendants refer to purportedly unanswered requests to obtain the assignment agreement
between QS Holdco and Quadriserv prior to the resolution of Defendants’ anticipated motion to
dismiss. That assertion is inaccurate. In response to Defendants’ request for the assignment
agreement, Plaintiff told Defendants that it would be willing to provide the assignment agreement
if Defendants were willing to provide reciprocal pre-motion to dismiss discovery on issues of
interest to Plaintiff. Defendants declined Plaintiff’s quid pro quo invitation.
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        For the vast majority of stock loan trades, Defendants operate as “middlemen,” extracting
more than 65% of the multi-billion-dollars per year in gross revenue generated by stock lending
activity. Id. ¶ 278. Recognizing the threat that the AQS platform represented, Defendants
conspired to boycott AQS and starve it of its lifeblood: liquidity. Id. ¶ 168. The Complaint sets
forth in granular detail Defendants’ coordinated effort to block and boycott the emergence of AQS.
See, e.g., id. ¶ 114. Defendants not only coordinated their collective decision to block AQS, they
even went so far as to block access, refuse clearing services, and threaten their own customers
from using the platform. Id. ¶¶ 173-75.
        Defendants’ illegal conduct was undertaken through, among other things, Defendants’
participation in EquiLend, a broker-dealer consortium that allowed Defendants to meet
collectively and coordinate their conduct. Id. ¶¶ 13, 180. In this way, Defendants’ misconduct
was purposely kept secret from QS Holdco. Defendants’ actions were revealed only after their
conspiracy forced QS Holdco to sell the distressed AQS platform to EquiLend at a massive
discount to what it would have been worth absent the conspiracy. After purchasing AQS,
EquiLend intentionally shelved the technology in such a way as to ensure they would maintain the
opaque, over-the-counter marketplace that Defendants continue to control and from which
Defendants continue to extract their multi-billion dollar fees. Id. ¶ 233.
Defendants’ Standing Arguments Should Be Rejected
        First, contrary to Defendants’ assertions, the former owner of a corporation is a proper
party to bring antitrust claims for the corporation’s injuries when, as here, the owner is the most
direct victim of the antitrust violation and precluding the prior owner’s suit would leave the
antitrust injury unremedied. Fischer v. CF & I Steel Corp., 614 F. Supp. 450, 452-53 (S.D.N.Y.
1985). Defendant EquiLend, an alleged conspiracy participant and the current owner of AQS, has
no intention of suing itself. Thus, QS Holdco, with its assignor Quadriserv, is the most direct
victim of the antitrust violations alleged in the Complaint, and prohibiting its claims would leave
those violations unremedied. There is simply no one else to bring this suit. Defendants’ reliance
on Rand v. Anaconda-Ericsson, Inc. is misplaced because that case addressed unique standing
issues that arise in the context of claims held by a bankruptcy estate and enforced by the bankruptcy
trustee. 794 F.2d 843, 848-49 (2d Cir. 1986). The existence of a bankruptcy proceeding was a key
component of the Court’s analysis in Rand. No bankruptcy proceeding exists here.
        Tellingly, before this antitrust action was filed, Defendants admitted in their motion to
dismiss briefing in the companion class action case referenced in Defendants’ March 23rd letter
that “the more direct victims of the alleged conspiracy—AQS, SL-x and Data Explorers” are the
most efficient enforcers to bring these antitrust claims. See Iowa Public Employees’ Retirement
System v. Bank of America Corp., Case No. 17-6221 (KPF) (S.D.N.Y.), Memorandum of Prime
Broker Defendants in Support of Their Joint Motion to Dismiss All Claims [Dkt. No. 110] at 45;
see also EquiLend’s Supplemental Memorandum in Support of Motion to Dismiss [Dkt. No. 107]
at 1, 13 (joining and adopting Prime Broker Defendants’ motion to dismiss brief).
        Second, QS Holdco retained the litigation claims at issue in this lawsuit. Perhaps
recognizing that AQS’s former shareholders have antitrust standing, Defendants argue that
Plaintiff’s antitrust causes of action were transferred to EquiLend in conjunction with EquiLend’s
purchase of AQS from QS Holdco (then known as PDQ, Inc.), pursuant to a Purchase Agreement
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